                          IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE MIDDLE DISTRICT OF TENNESSEE

  IN RE:
   KERELYNN POCHE DAVIS                                      Case No.22-00692-CW3-13
   1949 ROCHELLE LANE
   CORDOVA, TN 38016                                         JUDGE CHARLES M WALKER




   SSN XXX-XX-7053
            TRUSTEE'S NOTICE OF CLAIMS FILED IN THE ABOVE STYLED CASE

     Comes now the standing Chapter 13 Trustee who hereby serves notice that the
following claims have been filed in the above styled case. The deadline for filing non
government claims in this case was May 16, 2022. The deadline for filing claims by
governmental units was September 01, 2022. After such examination the Trustee states
that claims should be deemed allowed, or 'not filed' as indicated below:
NAME AND ADDRESS OF CREDITOR                 AMOUNT             CLASSIFICATION
EXETER FINANCE LLC                         $31,993.12           910 AUTOMOBILE LOAN (W)
P O BOX 650693                       DATE FILED: 6/13/2022      Disb level: 21
DALLAS, TX 75265
                                                                ACCT: 6563
                                                                COMM: 2017 MERCEDES GLA250
                                                                AMENDED

                             TRUSTEE'S CLAIM NO: 1         COURT'S CLAIM# 3
                             PERCENT ALLOWED: 100.00 % + 5.50%

WELLS FARGO BANK NA                         $1,121.75           MTG-ON GOING MTG PYMT (D)
MAC F2302 04C                        DATE FILED: 4/1/2022       Disb level: 21
1 HOME CAMPUS
DES MOINES, IA 50328                                            ACCT: 6709
                                                                COMM: MTG CONT 1949 ROCHELLE
                                                                LANE

                             TRUSTEE'S CLAIM NO: 2              COURT'S CLAIM# 8
                             PERCENT ALLOWED: 100.00 %

WELLS FARGO BANK NA                         $4,955.25           MTG-PRE-PETITION ARREARS (E)
MAC F2302 04C                        DATE FILED: 4/1/2022       Disb level: 23
1 HOME CAMPUS
DES MOINES, IA 50328                                            ACCT: 6709
                                                                COMM: MTG ARRS 1949 ROCHELLE
                                                                LANE THRU MAR 2022

                             TRUSTEE'S CLAIM NO: 3              COURT'S CLAIM# 8
                             PERCENT ALLOWED: 100.00 %

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WELLS FARGO BANK NA                         $2,243.50          MTG-GAP PYMTS (POST PET/PRE
MAC F2302 04C                                                  CONF) (E)
                                                               Disb level: 23
                                     DATE FILED: 4/1/2022
1 HOME CAMPUS
DES MOINES, IA 50328                                           ACCT: 6709
                                                               COMM: APR 2022-MAY 2022 1949
                                                               ROCHELLE LANE

                            TRUSTEE'S CLAIM NO: 4              COURT'S CLAIM# 8
                            PERCENT ALLOWED: 100.00 %

1305 CLAIM                                    $0.00            UNSECURED - 1305 (O)
NO ADDRESS GIVEN                     DATE FILED: NOT FILED     Disb level: 42
,   00000
                                                               ACCT:
                                                               COMM:

                            TRUSTEE'S CLAIM NO: 5              COURT'S CLAIM#
                            PERCENT ALLOWED: 100.00 %

PORTFOLIO RECOVERY ASSOCIATES               $1,827.17          UNSECURED CREDITOR (H)
LLC                                  DATE FILED: 5/13/2022     Disb level: 41
P O BOX 12914
NORFOLK, VA 23541                                              ACCT: 6722
                                                               COMM: VISA BARCLAYS BANK

                            TRUSTEE'S CLAIM NO: 6              COURT'S CLAIM# 11
                            PERCENT ALLOWED: 18.26 %

CASH NOW                                      $0.00            UNSECURED CREDITOR (H)
8042 WILLOW TREE LN                  DATE FILED: NOT FILED     Disb level: 41
CORDOVA, TN 38018
                                                               ACCT:
                                                               COMM:

                            TRUSTEE'S CLAIM NO: 7              COURT'S CLAIM#
                            PERCENT ALLOWED: 18.26 %

DEERFIELD AT PROVIDENCE                     $6,085.53          UNSECURED CREDITOR (H)
HALL AND ASSOCIATES                  DATE FILED: 5/16/2022     Disb level: 41
223 MADISON ST STE 212
MADISON, TN 37115                                              ACCT:
                                                               COMM: COURT JUDGEMENT

                            TRUSTEE'S CLAIM NO: 8              COURT'S CLAIM# 13
                            PERCENT ALLOWED: 18.26 %

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AIDVANTAGE ON BEHALF OF THE DEPT       $132,474.09             UNSECURED CREDITOR (H)
OF EDUCATION                     DATE FILED: 4/25/2022         Disb level: 41
DEPT OF ED LOAN SERVICES
P O BOX 4450                                                   ACCT: 7053
PORTLAND, OR 97208
                                                               COMM: STUDENT LOAN NAVIENT

                              TRUSTEE'S CLAIM NO: 9            COURT'S CLAIM# 9
                              PERCENT ALLOWED: 18.26 %

DINKELSPIEL RASMUSSEN AND MINK                $0.00            UNSECURED CREDITOR (H)
PLLC                                 DATE FILED: NOT FILED     Disb level: 41
1669 KIRBY PARKWAY SUITE 106
MEMPHIS, TN 38120                                              ACCT: 1101
                                                               COMM:

                              TRUSTEE'S CLAIM NO: 10           COURT'S CLAIM#
                              PERCENT ALLOWED: 18.26 %

JEFFERSON CAPITAL SYSTEMS LLC                $620.59           UNSECURED CREDITOR (H)
P O BOX 772813                       DATE FILED: 4/26/2022     Disb level: 41
CHICAGO, IL 60677
                                                               ACCT: 0256
                                                               COMM: CC PREMIER BANKCARD

                              TRUSTEE'S CLAIM NO: 11           COURT'S CLAIM# 10
                              PERCENT ALLOWED: 18.26 %

GARDENS OF GRAY CREEK                         $0.00            UNSECURED CREDITOR (H)
3036 CENTRE OAK WAY                  DATE FILED: NOT FILED     Disb level: 41
GERMANTOWN, TN 38138
                                                               ACCT: 1101
                                                               COMM:

                              TRUSTEE'S CLAIM NO: 12           COURT'S CLAIM#
                              PERCENT ALLOWED: 18.26 %

MIDLAND FUNDING LLC                           $0.00            UNSECURED CREDITOR (H)
326 E BIG BEAVER RD STE 300          DATE FILED: NOT FILED     Disb level: 41
TROY, MI 48083
                                                               ACCT:
                                                               COMM:

                              TRUSTEE'S CLAIM NO: 13           COURT'S CLAIM#
                              PERCENT ALLOWED: 18.26 %

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NATIONAL CREDIT ADJUSTERS LLC               $1,036.22          UNSECURED CREDITOR (H)
ATTN ACCOUNTING DEPARTMENT           DATE FILED: 5/13/2022     Disb level: 41
P O BOX 3023
HUTCHINSON, KS 67504                                           ACCT: 7065
                                                               COMM: SPEEDY CASH

                              TRUSTEE'S CLAIM NO: 14           COURT'S CLAIM# 12
                              PERCENT ALLOWED: 18.26 %

NAVY FEDERAL CREDIT                        $20,615.96          UNSECURED CREDITOR (H)
P O BOX 3000                         DATE FILED: 3/24/2022     Disb level: 41
MERRIFIELD, VA 22119
                                                               ACCT: 0458
                                                               COMM:

                              TRUSTEE'S CLAIM NO: 15           COURT'S CLAIM# 4
                              PERCENT ALLOWED: 18.26 %

ONE HUNDRED OAKS IMAGING                     $432.15           UNSECURED CREDITOR (H)
WAKEFIELD AND ASSOCIATES             DATE FILED: 3/28/2022     Disb level: 41
P O BOX 51272
KNOXVILLE, TN 37950                                            ACCT: 6972
                                                               COMM:

                              TRUSTEE'S CLAIM NO: 16           COURT'S CLAIM# 5
                              PERCENT ALLOWED: 18.26 %

SOUTHWEST CREDIT                              $0.00            UNSECURED CREDITOR (H)
4120 INTERNATIONAL PKWY              DATE FILED: NOT FILED     Disb level: 41
CARROLLTON, TX 75007
                                                               ACCT: 2525
                                                               COMM:

                              TRUSTEE'S CLAIM NO: 17           COURT'S CLAIM#
                              PERCENT ALLOWED: 18.26 %

TIME PAYMENT                                  $0.00            UNSECURED CREDITOR (H)
16 NE EXECUTIVE OFFICE PARK          DATE FILED: NOT FILED     Disb level: 41
BURLINGTON, MA 01803
                                                               ACCT:
                                                               COMM:

                              TRUSTEE'S CLAIM NO: 18           COURT'S CLAIM#
                              PERCENT ALLOWED: 18.26 %

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VANDERBILT UNIVERSITY MEDICAL                 $0.00            UNSECURED CREDITOR (H)
CENTER                               DATE FILED: NOT FILED     Disb level: 41
719 THOMPSON LANE
NASHVILLE, TN 37204                                            ACCT: 8278
                                                               COMM: MEDICAL

                            TRUSTEE'S CLAIM NO: 19             COURT'S CLAIM#
                            PERCENT ALLOWED: 18.26 %

WAKEFIELD AND ASSOCIATES                      $0.00            UNSECURED CREDITOR (H)
7005 MIDDLEBROOK PIKE                DATE FILED: NOT FILED     Disb level: 41
KNOXVILLE, TN 37909
                                                               ACCT:
                                                               COMM:

                            TRUSTEE'S CLAIM NO: 20             COURT'S CLAIM#
                            PERCENT ALLOWED: 18.26 %

SYNCHRONY BANK                                $0.00            NOTICE ONLY (N)
PRA RECEIVABLES MANAGEMENT LLC       DATE FILED: NOT FILED     Disb level: 0
P O BOX 41021
NORFOLK, VA 23541                                              ACCT: 9425
                                                               COMM: TJX REWARDS

                            TRUSTEE'S CLAIM NO: 21             COURT'S CLAIM#
                            PERCENT ALLOWED: .00 %

FIRST HERITAGE CREDIT OF                     $565.93           UNSECURED CREDITOR (H)
TENNESSEE LLC                        DATE FILED: 3/7/2022      Disb level: 41
DBA 1ST HERITAGE CREDIT
P O BOX 1940                                                   ACCT: 7053
CORNELIA, GA 30531
                                                               COMM:

                            TRUSTEE'S CLAIM NO: 22             COURT'S CLAIM# 1
                            PERCENT ALLOWED: 18.26 %

NAVY FEDERAL CREDIT UNION                    $477.62           UNSECURED CREDITOR (H)
P O BOX 3000                         DATE FILED: 3/10/2022     Disb level: 41
MERRIFIELD, VA 22119
                                                               ACCT: 4489
                                                               COMM:

                            TRUSTEE'S CLAIM NO: 23             COURT'S CLAIM# 2
                            PERCENT ALLOWED: 18.26 %

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EXETER FINANCE LLC                             $0.00            NOTICE ONLY (N)
AIS PORTFOLIO SERVICES LLC            DATE FILED: NOT FILED     Disb level: 0
4515 N SANTA FE AVE DEPT APS
OKLAHOMA CITY, OK 73118                                         ACCT:
                                                                COMM:

                              TRUSTEE'S CLAIM NO: 24            COURT'S CLAIM#
                              PERCENT ALLOWED: .00 %

LOGS LEGAL GROUP LLP                           $0.00            NOTICE ONLY (N)
10130 PERIMETER PKWY STE 400          DATE FILED: NOT FILED     Disb level: 0
CHARLOTTE, NC 28216
                                                                ACCT:
                                                                COMM: WELLS FARGO

                              TRUSTEE'S CLAIM NO: 25            COURT'S CLAIM#
                              PERCENT ALLOWED: .00 %

WELLS FARGO BANK NA                           $540.89           UNSECURED CREDITOR (H)
P O BOX 14487                         DATE FILED: 3/29/2022     Disb level: 41
DES MOINES, IA 50309
                                                                ACCT: 6931
                                                                COMM:

                              TRUSTEE'S CLAIM NO: 26            COURT'S CLAIM# 6
                              PERCENT ALLOWED: 18.26 %

ONEMAIN FINANCIAL GROUP LLC                  $6,001.92          UNSECURED CREDITOR (H)
P O BOX 3251                          DATE FILED: 3/31/2022     Disb level: 41
EVANSVILLE, IN 47731
                                                                ACCT: 9947
                                                                COMM: JUDGMENT 1789907
                                                                SPRINGLEAF

                              TRUSTEE'S CLAIM NO: 27            COURT'S CLAIM# 7
                              PERCENT ALLOWED: 18.26 %

TOTAL                                                                     $214,119.94


     The Trustee proposes to pay on such claims in accordance with the confirmed plan,
unless such claims are disallowed.

Accordingly, the Trustee notifies the court and the debtor that those claims which have
been filed be deemed allowed for the purpose of distribution pursuant to the confirmed
plan.

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                                                        /s/ Henry E. Hildebrand, III
    10/13/2022           AMA                            HENRY E. HILDEBRAND, III
      DATE            INITIALS                          CHAPTER 13 TRUSTEE
                                                        P O BOX 340019
                                                        NASHVILLE, TN 37203
                                                        PHONE: 615-244-1101
                                                        FAX: 615-242-3241
                                                        pleadings@ch13nsh.com



cc: HENRY E. HILDEBRAND, III                           TIMOTHY A DAVIS
   KERELYNN POCHE DAVIS                                115 E MAIN ST
   1949 ROCHELLE LANE                                  LEBANON, TN 37087
   CORDOVA, TN 38016




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